Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 1 of 54 Page ID
                                #:16483



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 14   Continued on next page
 15
 16
 17
                     IN THE UNITED STATES DISTRICT COURT
 18
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 19
 20                                       )   Case No. 5:17-CV-00548-CBM-RAO
       MONSTER ENERGY COMPANY,            )
 21    a Delaware corporation,            )   DEFENDANT INTEGRATED
                   Plaintiff,             )   SUPPLY NETWORK, LLC’S
 22                                       )
                                          )   PROPOSED JURY
 23          v.                           )   INSTRUCTIONS
       INTEGRATED SUPPLY                  )
 24                                       )   Trial:
       NETWORK, LLC, a Florida limited    )   Date: October 30, 2018
 25    liability company,                 )   Time: 10:00 a.m.
                                          )   Ctrm: 8B
 26                Defendant.             )
 27                                           Hon. Consuelo B. Marshall

 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 2 of 54 Page ID
                                #:16484



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  9
      Attorneys for Defendant
 10   INTEGRATED SUPPLY NETWORK, LLC
 11
 12         Pursuant to the Court’s Order Granting Stipulation to Continue Trial Date
 13   (Dkt. No. 355), Defendant Integrated Supply Network, LLC (“ISN”) respectfully
 14   proposes the following jury instructions for the instructions on which the parties
 15   were unable to agree.
 16
 17                                  Respectfully submitted,
                                     MADEL PA
 18
 19
 20   Dated: October 9, 2018         By: /s/
 21                                     Christopher W. Madel
                                        Jennifer M. Robbins
 22                                     Cassandra B. Merrick
 23
                                      Attorneys for Defendant,
 24
                                      INTEGRATED SUPPLY NETWORK, LLC
 25
 26
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 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 3 of 54 Page ID
                                #:16485



  1                      INDEX OF JURY INSTRUCTIONS
  2
  3     No.          Title                         Source                      Page

  4      1       Preliminary        Ninth Circuit Manual of Model Civil         1

  5              Instruction—        Jury Instructions – Nos. 15.1, 15.3

  6               Trademark          (modified), 15.8 (modified), 15.9.

  7      5     Burden of Proof –    Lexmark Int’l, Inc. v. Static Control       12

  8               Injury and        Components, Inc., 572 U.S. 118, 125

  9               Causation        (2014); 578539 B.C., Ltd. v. Kortz, No.

 10                                 CV1404375MMMMANX, 2014 WL
 11                                 12572679 (C.D. Cal. Oct. 16, 2014);
 12                                 Lindy Pen Company, Inc., v. Bic Pen
 13                                Corporation, 982 F.2d 1400, 1407 (9th
 14                                Cir. 1993), abrogated on other grounds
 15                                 by SunEarth, Inc. v. Sun Earth Solar
 16                                 Power Co., 839 F.3d 1179 (9th Cir.
 17                                 2016); PQ Labs, Inc. v. Yang Qi, No.
 18                                 12–0450 CW, 2014 WL 4954161, at
 19                                *11 (N.D. Cal. Sept. 30, 2014); Digby
 20                                 Adler Grp. LLC v. Image Rent a Car,
 21                                Inc., 79 F. Supp. 3d 1095, 1109 (N.D.
 22                                  Cal. 2015); Intel Corp. v. Terabyte
 23                                Int’l, Inc., 6 F.3d 614, 620–21 (9th Cir.
 24                                1993); Marketquest Group, Inc. v. BIC
 25                                  Corp., 316 F. Supp.3d 1234, 1298
 26                                (C.D. Cal. 2018); Wyatt Tech. Corp. v.
 27                                 Malvern Instruments, Inc., Case No.
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 4 of 54 Page ID
                                #:16486



  1                               CV 07-8298 ABC (MANx), 2010 WL

  2                                11505684, at *3 (C.D. Cal. Jan. 25,

  3                               2010); Edge Games, LLC v. Houghton

  4                                 Mifflin Harcourt Publ’g Co., No.

  5                                 EDCV 13 02123 VAP, 2015 WL

  6                                 3498607, at *6 (C.D. Cal. June 2,

  7                                2015); Hernandez v. Sandoval, No.

  8                                  2:12-CV-04560-CAS, 2014 WL

  9                                 3704497, at *3 (C.D. Cal. July 23,

 10                               2014); Illusions Int’l Inc. v. Walgreen

 11                               Co., No. SACV07494JVSRNBX, 2008

 12                                WL 11342979, at *2 (C.D. Cal. July

 13                               11, 2008); Color Me Mine Enterprises

 14                                   Inc. v. S. States Mktg. Inc., No.
 15                                  CV1200860RGKJCX, 2013 WL
 16                                12119715, at *9 (C.D. Cal. Apr. 25,
 17                              2013); In Computer Access Tech. Corp.
 18                                v. Catalyst Enterprises, Inc., 237 F.
 19                                  Supp.2d 1063 (N.D. Cal. 2003);
 20                                Aktiebolaget Electrolux v. Armatron
 21                                  Int’l, Inc., 999 F.2d 1, 4 (1st Cir.
 22                                  1992); A&H Sportswear, Inc. v.
 23                               Victoria’s Secret Stores, Inc., 166 F.3d
 24                                 197, 209 (3d Cir. 1999); Fishman
 25                                Transducers, Inc. v. Paul, 684 F.3d
 26                                187, 189 (1st Cir. 2012); Zelinski v.
 27
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 5 of 54 Page ID
                                #:16487



  1                               Columbia 300, Inc., 335 F.3d 633, 639

  2                                          (7th Cir. 2003).

  3      6      Infringement—      Ninth Circuit Manual of Model Civil    14

  4              Elements and          Jury Instructions – No. 15.6.

  5           Burden of Proof—

  6               Trademark

  7      7      Infringement—      Ninth Circuit Manual of Model Civil    15

  8              Elements and          Jury Instructions – No. 15.7.
  9           Burden of Proof—
 10              Trade Dress
 11      8      Infringement—      Ninth Circuit Manual of Model Civil    16
 12              Elements—             Jury Instructions – No. 15.8.
 13           Presumed Validity
 14            and Ownership—
 15               Registered
 16               Trademark
 17     11      Infringement—      Ninth Circuit Manual of Model Civil    18
 18              Elements—            Jury Instructions – No. 15.10.
 19               Validity—
 20              Unregistered
 21                Mark—
 22             Distinctiveness
 23     12      Infringement—      Ninth Circuit Manual of Model Civil    24
 24              Elements—            Jury Instructions – No. 15.11.
 25               Validity—
 26            Distinctiveness—
 27           Secondary Meaning
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 6 of 54 Page ID
                                #:16488



  1     13      Infringement—       Ninth Circuit Manual of Model Civil     27

  2              Elements—             Jury Instructions – No. 15.12.

  3            Validity—Trade

  4              Dress—Non-

  5              Functionality

  6              Requirement

  7     14      Infringement—       Ninth Circuit Manual of Model Civil     30

  8              Likelihood of         Jury Instructions – No. 15.18.

  9              Confusion—

 10           Factors—Sleekcraft

 11                  Test
 12     15      Infringement—       Ninth Circuit Manual of Model Civil     33
 13              Likelihood of         Jury Instructions – No. 15.19.
 14              Confusion—
 15           Factor—Strength of
 16           Trademark or Trade
 17                 Dress
 18     16       Defenses—          Ninth Circuit Manual of Model Civil     37
 19            Abandonment—            Jury Instructions – No. 15.22.
 20              Affirmative
 21               Defense—
 22           Defendant’s Burden
 23                of Proof
 24     17    Defense of Laches    Grupo Gigante S.A. De C.V. v. Dallo &    38
 25                                Co., 391 F.3d 1088, 1102–03 (9th Cir.
 26                                   2004); Jarrow Formulas, Inc. v.
 27                                Nutrition Now, Inc., 304 F.3d 829, 838
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 7 of 54 Page ID
                                #:16489



  1                                 (9th Cir. 2002); Tillamook Country

  2                                  Smoker, Inc. v. Tillamook County

  3                               Creamery Association, 465 F.3d 1102,

  4                               1108 (9th Cir. 2006); San Miguel Pure

  5                               Foods Co. v. Ramar Int’l Corp., 625 F.

  6                                  App’x 322, 326 (9th Cir. 2015).

  7     18        Trademark       San Miguel Pure Foods Co. v. Ramar          39

  8           Damages – Willful   Int'l Corp., 625 F. App'x 322, 325 (9th

  9              Infringement     Cir. 2015); Int'l Olympic Comm. v. San

 10                                Francisco Arts & Athletics, 781 F.2d

 11                                733, 739 (9th Cir.), amended by 789
 12                               F.2d 1319 (9th Cir.1986) (holding that
 13                                   conduct is not willful if a party
 14                                “reasonably thought that its proposed
 15                                    usage was not barred by the
 16                               statute”), aff'd sub nom. San Francisco
 17                               Arts & Athletics, Inc. v. U.S. Olympic
 18                               Comm., 483 U.S. 522, 107 S.Ct. 2971,
 19                                 97 L.Ed.2d 427 (1987); Evergreen
 20                                   Safety Council v. RSA Network
 21                                 Inc., 697 F.3d 1221, 1228 (9th Cir.
 22                               2012) (“Continued use of a work even
 23                               after one has been notified of his or her
 24                                   alleged infringement does not
 25                                constitute willfulness so long as one
 26                               believes reasonably, and in good faith,
 27                                  that he or she is not infringing.”)
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 8 of 54 Page ID
                                #:16490



  1     19        Trademark          Ninth Circuit Manual of Model Civil       40

  2              Damages—            Jury Instructions – No. 15.27; Lindy

  3            Plaintiff’s Actual    Pen Co. v. Bic Pen Corp., 982 F.2d

  4                Damages           1400, 1407 (9th Cir. 1993) (damages

  5                                  suffered by the plaintiff are typically

  6                                 measured by any direct injury which a

  7                                          plaintiff can prove).

  8     22    Reasonable Royalty AIPLA Model Patent Jury Instructions,         42

  9            –Possible Factors     11.14 (revised to apply to trademark

 10                                 context); Ericsson, Inc. v. D-Link Sys.,

 11                                 Inc., No. 10-CV-0473, 2014 U.S. App.
 12                                   LEXIS 22778 at *65-69 (Fed. Cir.
 13                                   2014); Apple Inc. et al v. Motorola
 14                                  Inc., et al., ___ F.3d ____ (Fed. Cir.
 15                                 Apr. 25, 2014); LaserDynamics, Inc. v.
 16                                 Quanta Computer, Inc. et al, 694 F.3d
 17                                 51, 60 (Fed. Cir. 2012); Wordtech Sys.,
 18                                 Inc. v. Integrated Networks Solutions,
 19                                  Inc., 609 F.3d 1308, 1319 (Fed. Cir.
 20                                  2010); ResQNet.com, Inc. v. Lansa,
 21                                  Inc., 594 F.3d 860, 869-73 (Fed. Cir.
 22                                        2010); Monsanto Co. v.
 23                                  McFarling, 488 F.3d 973 (Fed. Cir.
 24                                  2007); Maxwell v. J. Baker, Inc., 86
 25                                  F.3d 1098, 1108-10 (Fed. Cir. 1996);
 26                                 TWM Mfg. Co. v. Dura Corp., 789 F.2d
 27                                     895, 898-900 (Fed. Cir. 1986);
 28
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 9 of 54 Page ID
                                #:16491



  1                                 Georgia-Pacific Corp. v. United States

  2                                   Plywood Corp., 318 F. Supp. 1116

  3                                  (S.D.N.Y. 1970), modified and aff’d

  4                                  sub nom., Georgia Pacific Corp. v.

  5                                   United States Plywood Champion

  6                                  Papers, Inc., 446 F.2d 295 (2d Cir.

  7                                                1971).

  8     44    Defendant’s Profits   Ninth Circuit Manual of Model Civil      45

  9                                  Jury Instructions – No. 15.29; Stone

 10                                  Creek, Inc. v. Omnia Italian Design,

 11                                     Inc., No. 15- 17418, 2017 WL
 12                                   3724419, at *10 (9th Cir. Aug. 30,
 13                                                2017).
 14
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 10 of 54 Page ID
                                #:16492



   1                         PRELIMINARY INSTRUCTIONS
   2                            JURY INSTRUCTION NO. 1
   3               (PRELIMINARY INSTRUCTION—TRADEMARK)
   4
   5         The plaintiff, Monster Energy, seeks damages against the defendant,
   6   Integrated Supply Network, whom I will call ISN, for infringement of its
   7   registered and unregistered trademarks and trade dress. ISN denies infringing the
   8   trademarks and trade dress. ISN also contends that some of Monster Energy’s
   9   claimed trademarks are invalid, and that Monster Energy’s claimed trade dress is
  10   invalid. To help you understand the evidence that will be presented in this case, I
  11   will explain some of the legal terms you will hear during this trial.
  12
  13                      Definition and Function of a Trademark
  14         A trademark is a word, name, symbol, or device, or any combination of
  15   these items that indicates the source of goods. The owner of a trademark has the
  16   right to exclude others from using that trademark or a similar mark that is likely
  17   to cause confusion in the marketplace. The main function of a trademark is to
  18   identify and distinguish goods as the product of a particular manufacturer or
  19   merchant and to protect its goodwill.
  20
  21         A service mark is the same as a trademark, except that it is used to identify
  22   and distinguish a company’s services, rather than a company’s goods.           For
  23   convenience, I will refer to both trademarks and service marks as “trademarks”
  24   or simply “marks.”
  25
  26
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                                               -1-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 11 of 54 Page ID
                                #:16493



   1                            How a Trademark Is Obtained
   2         A person acquires the right to exclude others from using the same mark or
   3   a similar mark that is likely to cause confusion in the marketplace by being the
   4   first to use it in the marketplace, or by using it before the alleged infringer. Rights
   5   in a trademark are obtained only through commercial use of the mark.
   6
   7                                Trademark Registration
   8         After the owner of a trademark has obtained the right to exclude others
   9   from using the trademark, the owner may obtain a certificate of registration issued
  10   by the United States Patent and Trademark Office. Thereafter, when the owner
  11   brings an action for infringement, the owner may rely solely on the registration
  12   certificate to prove that the owner has the right to exclude others from using the
  13   trademark or a similar mark that is likely to cause confusion in the marketplace
  14   in connection with the type of goods specified in the certificate. These
  15   presumptions in favor of the owner created by the certificate of registration can
  16   be overcome or rebutted only by certain types of evidence that I will describe to
  17   you later as appropriate.
  18
  19                                  Unregistered Marks
  20         Not all trademarks are registered. Unregistered trademarks can be valid and
  21   provide the owner with the exclusive right to use that trademark.
  22         Only a valid trademark can be infringed.
  23
  24         AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions –
  25   No. 15.9.
  26
  27
  28
                                                -2-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 12 of 54 Page ID
                                #:16494



   1                                      Trade Dress
   2         Trade dress is the non-functional physical detail and design of a product or
   3   its packaging, which indicates the product’s source and distinguishes it from the
   4   products of others.
   5
   6         Trade dress is the product’s total image and overall appearance, and may
   7   include features such as size, shape, color, color combinations, texture, or
   8   graphics. In other words, trade dress is the form in which a person presents a
   9   product or service to the market, its manner of display. A registration is not
  10   necessary to have trade dress rights.
  11
  12                               Likelihood of Confusion
  13         To prove infringement of its trademarks and its trade dress, the plaintiff
  14   must prove, by a preponderance of the evidence, that the defendant, without the
  15   plaintiff’s consent, used in commerce a reproduction, copy, counterfeit or
  16   colorable imitation of plaintiff’s mark or trade dress in connection with the
  17   distribution or advertisement of goods, such that the defendant’s use of the mark
  18   or trade dress is likely to cause confusion as to the source of the goods. It is not
  19   necessary that the mark or trade dress used by the defendant be an exact copy of
  20   the plaintiff’s mark. Rather, the plaintiff must demonstrate that, viewed in its
  21   entirety, the mark or trade dress used by the defendant is likely to cause confusion
  22   in the minds of reasonably prudent purchasers or users as to the source of the
  23   product in question.
  24
  25                  Monster Energy’s Claims and Burden of Proof
  26         In this case, Monster Energy contends that ISN has infringed Monster
  27   Energy’s registered and unregistered trademarks and trade dress. First, Monster
  28
                                               -3-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 13 of 54 Page ID
                                #:16495



   1   Energy is asserting 20 registered trademarks, each of which will be listed in a
   2   chart you will receive. These registered trademarks use the terms “Monster
   3   Energy,” “Ubermonster,” “Unleash the Beast,” and the Monster Energy M-Claw
   4   logo in various combinations. I will refer to these as Monster Energy’s registered
   5   trademarks.
   6       MARK            REG.       GOODS/SERVICES            DATE         REG.
   7                        NO.                                FILED      DATE
   8     MONSTER         4,721,433 Promoting goods and         03/12/2014 04/14/2015
         ENERGY                    services in the sports,
   9                               motorsports, electronic
  10                               sports, and music
                                   industries through the
  11                               distribution of printed,
  12                               audio and visual
                                   promotional materials;
  13                               promoting sports and
  14                               music events and
                                   competitions for others
  15
         MONSTER         3,044,315 Nutritional supplements in 05/23/2003 01/17/2006
  16     ENERGY                    liquid form, but excluding
                                   perishable beverage
  17
                                   products that contain fruit
  18                               juice or soy, whether such
                                   products are pasteurized or
  19
                                   not
  20
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                                              -4-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 14 of 54 Page ID
                                #:16496



   1       MARK         REG.       GOODS/SERVICES          DATE        REG.
   2                      NO.                                FILED      DATE
   3     MONSTER       3,057,061 Fruit juice drinks having a 04/18/2002 02/27/2006
         ENERGY                  juice content of 50% or
   4                             less by volume that are
   5                             shelf stable, carbonated
                                 soft drinks, carbonated
   6                             drinks enhanced with
   7                             vitamins, minerals,
                                 nutrients, amino acids
   8                             and/or herbs, but excluding
   9                             perishable beverage
                                 products that contain fruit
  10                             juice or soy, whether such
  11                             products are pasteurized or
                                 not
  12
         MONSTER       4,036,680 Nutritional supplements in 09/11/2007 10/11/2011
  13     ENERGY                  liquid form
  14
         MONSTER  4,036,681 Non-alcoholic beverages, 09/11/2007 10/11/2011
  15     ENERGY             namely, energy drinks,
  16                        excluding perishable
                            beverage products that
  17                        contain fruit juice or soy
  18    M MONSTER 3,044,314 Nutritional supplements in 05/23/2003 01/17/2006
         ENERGY             liquid form, but excluding
  19                        perishable beverage
  20                        products that contain fruit
                            juice or soy, whether such
  21                        products are pasteurized or
  22                        not
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                                          -5-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 15 of 54 Page ID
                                #:16497



   1       MARK         REG.       GOODS/SERVICES             DATE   REG.
   2                 NO.                                FILED      DATE
   3    M MONSTER 3,134,842 Beverages, namely,          05/07/2003 08/29/2006
          ENERGY            carbonated soft drinks,
   4                        carbonated drinks
   5                        enhanced with vitamins,
                            minerals, nutrients, amino
   6                        acids and/or herbs,
   7                        carbonated energy or
                            sports drinks, fruit juice
   8                        drinks having a juice
   9                        content of 50% or less by
                            volume that are shelf
  10                        stable, but excluding
  11                        perishable beverage
                            products that contain fruit
  12                        juice or soy, whether such
  13                        products are pasteurized or
                            not
  14
        UBERMONST 4,234,456 Nutritional supplements in 07/09/2010 10/30/2012
  15        ER              liquid form;
  16
                                Beverages, namely,
  17                            carbonated soft drinks;
  18                            nonalcoholic carbonated
                                soft drinks and energy
  19                            drinks enhanced with
  20                            vitamins, minerals,
                                nutrients, proteins, amino
  21                            acids and/or herbs;
  22                            carbonated energy drinks
                                and sports drinks; all the
  23                            foregoing goods exclude
  24                            perishable beverage
                                products that contain fruit
  25                            juice or soy, whether such
  26                            products are pasteurized or
                                not
  27
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                                          -6-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 16 of 54 Page ID
                                #:16498



   1       MARK         REG.       GOODS/SERVICES          DATE        REG.
   2                      NO.                                FILED      DATE
   3                   3,908,601 Clothing, namely, t-shirts, 04/02/2009 01/18/2011
                                 hooded shirts and hooded
   4                             sweatshirts, sweat shirts,
   5                             jackets, pants, bandanas,
                                 sweat bands and gloves;
   6                             headgear, namely, hats and
   7                             beanies
                       3,914,828 Sports helmets              04/02/2009 02/01/2011
   8
   9
  10                   3,923,683 All purpose sport bags;    04/02/2009 02/22/2011
                                 All-purpose carrying bags;
  11                             Backpacks; Duffle bags
  12
                       3,908,600 Stickers; sticker kits    04/02/2009 01/18/2011
  13                             comprising stickers and
  14                             decals; decals

  15
                       3,134,841 Beverages, namely,          05/07/2003 08/29/2006
  16                             carbonated soft drinks,
  17                             carbonated soft drinks
                                 enhanced with vitamins,
  18                             minerals, nutrients, amino
  19                             acids and/or herbs,
                                 carbonated energy and
  20                             sports drinks, fruit juice
  21                             drinks having a juice
                                 content of 50% or less by
  22                             volume that are shelf
  23                             stable, but excluding
                                 perishable beverage
  24
                                 products that contain fruit
  25                             juice or soy, whether such
                                 products are pasteurized or
  26
                                 not
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                                          -7-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 17 of 54 Page ID
                                #:16499



   1       MARK         REG.       GOODS/SERVICES            DATE       REG.
   2                      NO.                                 FILED      DATE
   3                   4,332,062 Silicone wrist bands;        10/05/2012 05/07/2013
                                 silicone bracelets; jewelry,
   4                             namely, bracelets and
   5                             wristbands
   6                   4,660,598 Lanyards; Lanyards for      08/26/2013 12/23/2014
                                 holding whistles, keys,
   7
                                 eyeglasses, sunglasses,
   8                             mobile telephones, badges,
                                 identification cards, event
   9
                                 passes, media passes,
  10                             photographs, recording
                                 equipment, or similar
  11
                                 conveniences
  12                   3,740,050 Nutritional supplements; 08/07/2009 01/19/2010
  13                             Beverages, namely,
                                 carbonated soft drinks,
  14                             carbonated drinks
  15                             enhanced with vitamins,
                                 minerals, nutrients, amino
  16                             acids and/or herbs,
  17                             carbonated and non-
                                 carbonated energy or
  18                             sports drinks
  19                   4,865,702 Nutritional supplements in 02/02/2015 12/08/2015
                                 liquid form;
  20
  21                             Non-alcoholic beverages,
                                 namely, carbonated soft
  22                             drinks; carbonated drinks
  23                             enhanced with vitamins,
                                 minerals, nutrients,
  24                             proteins, amino acids
  25                             and/or herbs; carbonated
                                 energy drinks and sports
  26                             drinks
  27
  28
                                          -8-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 18 of 54 Page ID
                                #:16500



   1       MARK            REG.       GOODS/SERVICES            DATE         REG.
   2                  NO.                                       FILED      DATE
   3     UNLEASH 4,975,822 Clothing, namely, tops,              03/07/2014 06/14/2016
        THE BEAST!           shirts, long-sleeved shirts,
   4                         t-shirts, hooded shirts and
   5                         hooded sweatshirts, sweat
                             shirts, jackets, pants,
   6                         bandanas, socks, sweat
   7                         bands and gloves;
                             headgear, namely, hats and
   8                         beanies
   9     UNLEASH 2,769,364 Fruit juice drinks, soft             12/18/2002 09/30/2003
        THE BEAST!           drinks, carbonated soft
  10
                             drinks and soft drinks
  11                         enhanced with vitamins,
                             minerals, nutrients, amino
  12
                             acids and/or herbs
  13               4,394,044 Non-alcoholic beverages,           12/14/2010 07/27/2013
         UNLEASH
  14                         namely, carbonated soft
        THE NITRO
                             drinks; carbonated drinks
  15      BEAST!
                             enhanced with vitamins,
  16                         minerals, nutrients,
                             proteins, amino acids
  17                         and/or herbs; carbonated
  18                         energy or sports drinks

  19
  20         Monster Energy is also asserting an unregistered trademark in the term

  21   “Monster” in connection with other words or elements.

  22         Finally, Monster Energy is also asserting trade dress rights in the way it

  23   presents its products using each of the following elements: (1) a black or gray

  24   background; (2) a clawed letter “M”; (3) a bright contrasting green color; (4) the

  25   word “Monster” in a white, stylized font; and (5) an overall aggressive, edgy

  26   theme (“Trade Dress”). I will refer to this as the Trade Dress asserted by Monster

  27   Energy.

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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 19 of 54 Page ID
                                #:16501



   1          Monster Energy must prove that it has suffered an injury in this case and
   2   that Monster Mobile caused that injury. Monster Energy has the burden of
   3   proving by a preponderance of the evidence that it is the owner of a valid
   4   trademark or trade dress and that ISN infringed that trademark or trade dress.
   5   Preponderance of the evidence means that you must be persuaded by the evidence
   6   that it is more probably true than not true that ISN infringed Monster Energy’s
   7   trademarks or trade dress.
   8          One way for Monster Energy to prove it has a valid trademark is to show
   9   that the trademark is registered. An owner of a trademark may obtain a certificate
  10   of registration issued by the United States Patent and Trademark Office and may
  11   submit that certificate as evidence of the validity and protectability of the
  12   trademark and of the certificate holder’s ownership of the trademark covered by
  13   that certificate.
  14          Another way for Monster Energy to prove it has a valid trademark is to
  15   show that the trademark acts as a trademark in that it identifies a particular source
  16   of the goods or services at issue.
  17
  18                         ISN’s Defenses and Burden of Proof
  19          ISN contends that some of Monster Energy’s trademarks and trade dress
  20   are invalid. In addition, ISN contends that Monster Energy abandoned any rights
  21   in the word “Monster” when used alone. ISN has the burden of proving by a
  22   preponderance of the evidence that the challenged registered trademarks are
  23   invalid or that the unregistered “Monster” trademark has been abandoned.
  24   Preponderance of the evidence means that you must be persuaded by the evidence
  25   that it is more probably true than not true that the challenged trademarks are
  26   invalid or abandoned.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 20 of 54 Page ID
                                #:16502



   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – Nos.
   2   15.1, 15.3 (modified), 15.8 (modified).
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 21 of 54 Page ID
                                #:16503



   1        INSTRUCTIONS AFTER EVIDENCE BUT BEFORE CLOSING
   2                                    ARGUMENT
   3
   4                            JURY INSTRUCTION NO. 5
   5              (BURDEN OF PROOF – INJURY AND CAUSATION)
   6         For all of its claims, Monster Energy must prove by a preponderance of
   7   the evidence that it has suffered an injury in this case, and that Monster Mobile
   8   caused that injury.
   9
  10   AUTHORITY: Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

  11   118, 125 (2014); 578539 B.C., Ltd. v. Kortz, No. CV1404375MMMMANX,

  12   2014 WL 12572679 (C.D. Cal. Oct. 16, 2014); Lindy Pen Company, Inc., v. Bic

  13   Pen Corporation, 982 F.2d 1400, 1407 (9th Cir. 1993), abrogated on other

  14   grounds by SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179 (9th

  15   Cir. 2016); PQ Labs, Inc. v. Yang Qi, No. 12–0450 CW, 2014 WL 4954161, at

  16   *11 (N.D. Cal. Sept. 30, 2014); Digby Adler Grp. LLC v. Image Rent a Car,

  17   Inc., 79 F. Supp. 3d 1095, 1109 (N.D. Cal. 2015); Intel Corp. v. Terabyte Int’l,

  18   Inc., 6 F.3d 614, 620–21 (9th Cir. 1993); Marketquest Group, Inc. v. BIC Corp.,

  19   316 F. Supp.3d 1234, 1298 (C.D. Cal. 2018); Wyatt Tech. Corp. v. Malvern

  20   Instruments, Inc., Case No. CV 07-8298 ABC (MANx), 2010 WL 11505684, at

  21   *3 (C.D. Cal. Jan. 25, 2010); Edge Games, LLC v. Houghton Mifflin Harcourt

  22   Publ’g Co., No. EDCV 13 02123 VAP, 2015 WL 3498607, at *6 (C.D. Cal.

  23   June 2, 2015); Hernandez v. Sandoval, No. 2:12-CV-04560-CAS, 2014 WL

  24   3704497, at *3 (C.D. Cal. July 23, 2014); Illusions Int’l Inc. v. Walgreen Co.,

  25   No. SACV07494JVSRNBX, 2008 WL 11342979, at *2 (C.D. Cal. July 11,
  26   2008); Color Me Mine Enterprises Inc. v. S. States Mktg. Inc., No.
  27   CV1200860RGKJCX, 2013 WL 12119715, at *9 (C.D. Cal. Apr. 25, 2013); In
  28   Computer Access Tech. Corp. v. Catalyst Enterprises, Inc., 237 F. Supp.2d 1063

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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 22 of 54 Page ID
                                #:16504



   1   (N.D. Cal. 2003); Aktiebolaget Electrolux v. Armatron Int’l, Inc., 999 F.2d 1, 4

   2   (1st Cir. 1992); A&H Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 166 F.3d

   3   197, 209 (3d Cir. 1999); Fishman Transducers, Inc. v. Paul, 684 F.3d 187, 189

   4   (1st Cir. 2012); Zelinski v. Columbia 300, Inc., 335 F.3d 633, 639 (7th Cir.

   5   2003).

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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 23 of 54 Page ID
                                #:16505



   1                           JURY INSTRUCTION NO. 6
   2        (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—
   3                                  TRADEMARK)
   4
   5         On Monster Energy’s claims for trademark infringement, Monster Energy
   6   has the burden of proving each of the following elements by a preponderance of
   7   the evidence:
   8
   9         1. That Monster Energy’s claimed trademarks are valid, protectable
  10         trademarks;
  11
  12         2. That Monster Energy owns these trademarks; and
  13
  14         3. That ISN used these trademarks or a similar trademark without the
  15         consent of Monster Energy in a manner that is likely to cause confusion
  16         among ordinary consumers as to the source, sponsorship, affiliation, or
  17         approval of the goods.
  18
  19         If you find that each of the elements on which Monster Energy has the
  20   burden of proof has been proved, your verdict should be for Monster Energy. If,
  21   on the other hand, Monster Energy has failed to prove any of these elements, your
  22   verdict should be for ISN.
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  26   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No. 15.6.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 24 of 54 Page ID
                                #:16506



   1                           JURY INSTRUCTION NO. 7
   2   (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—TRADE
   3                                       DRESS)
   4
   5         On Monster Energy’s claim for trade dress infringement, Monster Energy
   6   has the burden of proving by a preponderance of the evidence each of the
   7   following elements:
   8         1. That the claimed Trade Dress, including each of the following elements:
   9            (1) a black or gray background; (2) a clawed letter “M”; (3) a bright
  10            contrasting green color; (4) the word “Monster” in a white, stylized font;
  11            and (5) an overall aggressive, edgy theme (“Trade Dress”),              is
  12            distinctive;
  13
  14         2. That Monster Energy owns this Trade Dress;
  15
  16         3. That the Trade Dress asserted by Monster Energy is nonfunctional; and
  17
  18         4. That ISN used trade dress similar to the Trade Dress asserted by
  19            Monster Energy without the consent of Monster Energy in a manner
  20            that is likely to cause confusion among ordinary consumers as to the
  21            source, sponsorship, affiliation, or approval of ISN’s goods.
  22
  23         If you find that each of the elements on which Monster Energy has the
  24   burden of proof has been proved, your verdict should be for the plaintiff. If, on
  25   the other hand, Monster Energy has failed to prove any of these elements, your
  26   verdict should be for ISN.
  27
  28   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No. 15.7.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 25 of 54 Page ID
                                #:16507



   1                            JURY INSTRUCTION NO. 8
   2       (INFRINGEMENT—ELEMENTS—PRESUMED VALIDITY AND
   3                  OWNERSHIP—REGISTERED TRADEMARK)
   4
   5          I gave you instruction number 6 that requires Monster Energy to prove by
   6   a preponderance of the evidence that its trademarks are valid and protectable and
   7   that Monster Energy owns the trademarks. A valid trademark is a word, name,
   8   symbol, device, or any combination of these, that indicates the source of goods or
   9   services and distinguishes those goods or services from the goods or services of
  10   others. A trademark becomes protectable after it is used in commerce.
  11
  12          One way for Monster Energy to prove trademark validity is to show that
  13   the trademark is registered. An owner of a trademark may obtain a certificate of
  14   registration issued by the United States Patent and Trademark Office and may
  15   submit that certificate as evidence of the validity and protectability of the
  16   trademark and of the certificate holder’s ownership of the trademark covered by
  17   that certificate.
  18
  19          Exhibits 1000A through 1013A, 1023A, 1034A through 1037A, and
  20   1043A are certificates of registration from the United States Patent and
  21   Trademark Office. They were submitted by Monster Energy as proof of the
  22   validity of the trademarks and that Monster Energy owns the trademarks.
  23
  24          The facts recited in these certificates are that Monster Energy owns valid
  25   trademark rights in each of the trademarks listed in the registrations for the goods
  26   or services that are recited therein. However, ISN disputes some of these recitals.
  27   ISN alleges that some of the certificates cannot be considered proof of validity of
  28   the trademark because “Monster Energy” is descriptive of the goods being offered
                                              -16-
Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 26 of 54 Page ID
                                #:16508



   1   or that the trademark has been abandoned by Monster Energy and is therefore not
   2   a valid trademark.
   3
   4         Unless ISN proves by a preponderance of the evidence that a particular
   5   trademark is invalid, not owned by Monster Energy, or abandoned, you must
   6   consider that trademark to be conclusively proved as valid and owned by Monster
   7   Energy. However, if ISN shows by a preponderance of the evidence that the
   8   trademark is invalid, not owned by Monster Energy, or abandoned, then the facts
   9   stated in the certificate(s) are no longer conclusively presumed to be correct. You
  10   should then consider whether all of the evidence admitted in this case, in addition
  11   to the certificate of registration, shows by a preponderance of the evidence that
  12   the trademark is valid and owned by Monster Energy, as I explain in Instruction
  13   6.
  14
  15         In this case, there is no dispute that Monster Energy’s registrations of
  16   trademarks shown at Exhibits 1001A through 1004A, 1006A, 1009A through
  17   1013A, 1034A, and 1037A are conclusive evidence of Monster Energy’s
  18   ownership of these trademarks and that the trademarks are valid and protectable.
  19   I instruct you that for purposes of Instruction 6, you must find that Monster
  20   Energy owns these trademarks and that these trademarks are valid and
  21   protectable.
  22
  23   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No. 15.8.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 27 of 54 Page ID
                                #:16509



   1                            JURY INSTRUCTION NO. 11
   2      (INFRINGEMENT—ELEMENTS—VALIDITY—UNREGISTERED
   3                           MARK—DISTINCTIVENESS)
   4
   5                    Strength as a Likelihood of Confusion Factor
   6
   7         How distinctively a trademark or trade dress indicates that a good comes
   8   from a particular source is an important factor to consider in assessing its validity.
   9   As I will discuss later, it is also an important factor in determining whether ISN
  10   has infringed Monster Energy’s claimed trademarks or claimed trade dress.
  11
  12         Monster Energy asserts that the word “Monster” is a valid and protectable
  13   trademark for its goods and services, and that the Trade Dress asserted by Monster
  14   Energy is a valid and protectable trade dress for its goods and services. Monster
  15   Energy contends that ISN’s use of the words “Monster” and “Monster Mobile” in
  16   connection with ISN’s products infringes Monster Energy’s “Monster” trademark
  17   and is likely to cause confusion about the origin of goods associated with that
  18   trademark. Similarly, Monster Energy contends that ISN’s use of the words
  19   “Monster” and “Monster Mobile” in combination with the colors green and black
  20   infringes the Trade Dress asserted by Monster Energy and is likely to cause
  21   confusion about the origin of the goods associated with that trade dress. ISN
  22   disputes each of these claims.
  23
  24         In order to determine if Monster Energy has met its burden of showing that
  25   its claimed, unregistered “Monster” trademark is a valid trademark, or that the
  26   Trade Dress asserted by Monster Energy is a valid trade dress, you should classify
  27   it on the spectrum of distinctiveness that I will explain in this instruction.
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 28 of 54 Page ID
                                #:16510



   1         An inherently distinctive trademark or trade dress is a word, symbol or
   2   device, or combination of them, which intrinsically identifies a particular source
   3   of a good or service in the market. The law assumes that an inherently distinctive
   4   trademark or trade dress is one that almost automatically tells a consumer that it
   5   refers to a brand or a source for a product, and that consumers will be predisposed
   6   to equate the trademark with the source of a product.
   7
   8                         Spectrum of Marks and Trade Dress
   9
  10         Trademark law provides great protection to distinctive or strong
  11   trademarks and trade dress. Conversely, trademarks and trade dress that are not
  12   as distinctive or strong are called “weak” trademarks and trade dress, and they
  13   receive less protection from infringing uses. Trademarks and trade dress that are
  14   not distinctive are not entitled to any trademark protection. For deciding
  15   trademark and trade dress protectability, you must consider whether a trademark
  16   or trade dress is inherently distinctive. Trademarks and trade dress are grouped
  17   into four categories according to their relative strength or distinctiveness. These
  18   four categories are, in order of strength or distinctiveness: arbitrary (which is
  19   inherently distinctive), suggestive (which also is inherently distinctive),
  20   descriptive (which is protected only if it acquires in consumers’ minds a
  21   “secondary meaning” which I explain in Instruction 12, and generic names (which
  22   are entitled to no protection).
  23
  24         Arbitrary Trademarks and Trade Dress. The first category of
  25   “inherently distinctive” trademarks and trade dress is arbitrary trademarks and
  26   trade dress. They are considered strong marks and are clearly protectable. They
  27   involve the arbitrary, fanciful or fictitious use of a word or a trade dress to
  28   designate the source of a product. Such a trademark or trade dress in no way
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 29 of 54 Page ID
                                #:16511



   1   describes or has any relevance to the particular product it is meant to identify. It
   2   may be a common word used in an unfamiliar way. It may be a newly created
   3   (coined) word or parts of common words which are applied in a fanciful, fictitious
   4   or unfamiliar way, solely as a trademark or trade dress.
   5
   6         For instance, the common word “apple” became a strong and inherently
   7   distinctive trademark when used by a company to identify the personal computers
   8   that company sold. The company’s use of the word “apple” was arbitrary or
   9   fanciful because “apple” did not describe and was not related to what the
  10   computer was, its components, ingredients, quality, or characteristics. “Apple”
  11   was being used in an arbitrary way to designate for consumers that the computer
  12   comes from a particular manufacturer or source.
  13
  14          Suggestive Trademarks and Trade Dress. The next category is
  15   suggestive trademarks and trade dress. These trademarks and trade dress are also
  16   inherently distinctive but are considered weaker than arbitrary trademarks and
  17   trade dress. Unlike arbitrary trademarks and trade dress, which are in no way
  18   related to what the product is or its components, quality, or characteristics,
  19   suggestive trademarks and trade dress imply some characteristic or quality of the
  20   product to which they are attached. If the consumer must use imagination or any
  21   type of multi-stage reasoning to understand the significance of the trademark or
  22   trade dress, then the trademark or trade dress does not describe the product’s
  23   features, but merely suggests them.
  24
  25         A suggestive use of a word involves consumers associating the qualities
  26   the word suggests to the product to which the word is attached. For example,
  27   when “apple” is used not to indicate a certain company’s computers, but rather
  28   “Apple–A–Day” Vitamins, it is being used as a suggestive trademark. “Apple”
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 30 of 54 Page ID
                                #:16512



   1   does not describe what the vitamins are. However, consumers may come to
   2   associate the healthfulness of “an apple a day keeping the doctor away” with the
   3   supposed benefits of taking “Apple–A–Day” Vitamins.
   4
   5         Descriptive Trademarks and Trade Dress. The third category is
   6   descriptive trademarks and trade dress. Descriptive trademarks and trade dress
   7   directly identify or describe some aspect, characteristic, or quality of the product
   8   to which they are affixed in a straightforward way that requires no exercise of
   9   imagination to be understood.
  10
  11         For instance, the word “apple” is descriptive when used in the trademark
  12   “CranApple” to designate a cranberry-apple juice. It directly describes
  13   ingredients of the juice. Other common types of descriptive trademarks identify
  14   where a product comes from, or the name of the person who makes or sells the
  15   product. Thus, the words “Apple Valley Juice” affixed to cider from the
  16   California town of Apple Valley is a descriptive trademark because it
  17   geographically describes where the cider comes from. Similarly, a descriptive
  18   trademark can be the personal name of the person who makes or sells the product.
  19   So, if a farmer in Apple Valley, Judy Brown, sold her cider under the label “Judy’s
  20   Juice” (rather than CranApple) she is making a descriptive use of her personal
  21   name to indicate and describe who produced the apple cider and she is using her
  22   first name as a descriptive trademark.
  23
  24         Generic Names. The fourth category is entitled to no protection at all.
  25   They are called generic names and they refer to a general name of the product, as
  26   opposed to the plaintiff’s brand for that product. Generic names are part of our
  27   common language that we need to identify all such similar products. A generic
  28   name is a name for the product on which it appears.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 31 of 54 Page ID
                                #:16513



   1
   2         If the primary significance of the alleged mark or alleged trade dress is to
   3   name the type of product rather than the manufacturer or provider, the term is a
   4   generic name and cannot be a valid trademark or trade dress. If the majority of
   5   relevant consumers would understand the term or the trade dress to name the type
   6   of product rather than the manufacturer or provider, the primary significance of
   7   the term is generic and not entitled to protection as a trademark or trade dress.
   8
   9         The word “apple” can be used as a generic name and not be entitled to any
  10   trademark protection. This occurs when the word is used to identify the fruit from
  11   an apple tree.
  12
  13         The computer maker who uses the word “apple” as a trademark to identify
  14   its personal computer, or the vitamin maker who uses that word as a trademark
  15   on vitamins, has no claim for trademark infringement against the grocer who used
  16   that same word to indicate the fruit sold in a store. As used by the grocer, the word
  17   is generic and does not indicate any particular source of the product. As applied
  18   to the fruit, “apple” is simply a commonly used name for what is being sold.
  19
  20                          Mark Distinctiveness and Validity
  21
  22         If you decide that Monster Energy’s claimed, unregistered “Monster”
  23   trademark is arbitrary or suggestive, it is considered to be inherently distinctive.
  24   Similarly, if you decide that the Trade Dress asserted by Monster Energy is
  25   arbitrary or suggestive, it is considered to be inherently distinctive. An inherently
  26   distinctive trademark or trade dress is valid and protectable.
  27
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 32 of 54 Page ID
                                #:16514



   1            On the other hand, if you determine that Monster Energy’s “Monster”
   2   trademark is generic, or that the Trade Dress asserted by Monster Energy is
   3   generic, then they cannot be distinctive and therefore are not valid or protectable.
   4
   5            If you decide that Monster Energy’s claimed, unregistered “Monster”
   6   trademark is descriptive, or that the Trade Dress asserted by Monster Energy is
   7   descriptive, you will not know if the trademark or trade dress is valid or invalid
   8   until you consider whether it has gained distinctiveness by the acquisition of
   9   secondary meaning, which I explain in Instruction 12.
  10
  11   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  12   15.10.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 33 of 54 Page ID
                                #:16515



   1                            JURY INSTRUCTION NO. 12
   2   (INFRINGEMENT—ELEMENTS—VALIDITY—DISTINCTIVENESS—
   3                             SECONDARY MEANING)
   4
   5         If you determined in Instruction 11 that any of Monster Energy’s claimed
   6   trademarks or claimed trade dress are descriptive, you must consider the
   7   recognition that the mark has among prospective consumers in order to determine
   8   whether it is valid and protectable even though it is descriptive. This market
   9   recognition is called the “secondary meaning” of the trademark or trade dress.
  10
  11         A word or a trade dress acquires a secondary meaning when it has been
  12   used in such a way that its primary significance in the minds of the prospective
  13   consumers is not the product or service itself, but the identification of the product
  14   or service with a single source, regardless of whether consumers know who or
  15   what that source is. You must find that the preponderance of the evidence shows
  16   that a significant number of the consuming public associates the trademark or
  17   trade dress with a single source, in order to find that it has acquired secondary
  18   meaning.
  19
  20         When you are determining whether a trademark or trade dress has acquired
  21   a secondary meaning, consider the following factors:
  22
  23         (1)    Consumer Perception. Whether the people who purchase the product
  24                or service that bears the claimed trademark or trade dress associate
  25                the trademark or trade dress with Monster Energy;
  26
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 34 of 54 Page ID
                                #:16516



   1         (2)   Advertisement. To what degree and in what manner Monster Energy
   2               may have advertised under the claimed trademark or claimed trade
   3               dress;
   4
   5         (3)   Demonstrated Utility. Whether Monster Energy successfully used
   6               this trademark or trade dress to increase the sales of its products or
   7               services;
   8
   9         (4)   Extent of Use. The length of time and manner in which Monster
  10               Energy used the claimed trademark or claimed trade dress;
  11
  12         (5)   Exclusivity. Whether Monster Energy’s use of the claimed
  13               trademark or claimed trade dress was exclusive;
  14
  15         (6)   Copying. Whether ISN intentionally copied Monster Energy’s
  16               claimed trademark or claimed trade dress; and
  17
  18         (7)   Actual Confusion. Whether ISN’s use of a similar trademark or trade
  19               dress has led to actual confusion among a significant number of
  20               consumers.
  21
  22         The presence or absence of any particular factor should not necessarily
  23   resolve whether the claimed trademark or claimed trade dress has acquired
  24   secondary meaning.
  25
  26         Descriptive trademarks and trade dress are protectable only to the extent
  27   you find they acquired distinctiveness through secondary meaning by the public
  28   coming to associate the trademark or trade dress with a particular source.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 35 of 54 Page ID
                                #:16517



   1   Descriptive trademarks and trade dress are entitled to protection only as broad as
   2   the secondary meaning they have acquired, if any. If they have acquired no
   3   secondary meaning, they are entitled to no protection and cannot be considered a
   4   valid trademark or trade dress.
   5
   6            Monster Energy has the burden of proving that its claimed, unregistered
   7   “Monster” trademark and the Trade Dress asserted by Monster Energy have
   8   acquired a secondary meaning. ISN has the burden of proving that the registered
   9   trademarks in this case lack a secondary meaning.
  10
  11            The mere fact that Monster Energy is using a particular trademark or trade
  12   dress, or that Monster Energy began using it before ISN, does not mean that the
  13   trademark or trade dress has acquired secondary meaning. There is no particular
  14   length of time that a trademark or trade dress must be used before it acquires a
  15   secondary meaning.
  16
  17   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  18   15.11.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 36 of 54 Page ID
                                #:16518



   1                           JURY INSTRUCTION NO. 13
   2      (INFRINGEMENT—ELEMENTS—VALIDITY—TRADE DRESS—
   3                   NON-FUNCTIONALITY REQUIREMENT)
   4
   5         A product feature is functional if it is essential to the product’s use or
   6   purpose, or if it affects the product’s cost or quality. It is non-functional if its
   7   shape or form makes no contribution to the product’s function or operation. If the
   8   feature is part of the actual benefit that consumers wish to purchase when they
   9   buy the product, the feature is functional. However, if the feature serves no
  10   purpose other than as an assurance that a particular entity made, sponsored or
  11   endorsed the product, it is non-functional.
  12
  13         To determine whether a product’s trade dress is functional, you should
  14   consider whether the trade dress as a whole is functional, that is whether the whole
  15   collection of elements making up the trade dress are essential to the product’s use
  16   or purpose. In this case, this means you must decide whether each of the
  17   following elements are functional: (1) a black or gray background; (2) a clawed
  18   letter “M”; (3) a bright contrasting green color; (4) the word “Monster” in a white,
  19   stylized font; and (5) an overall aggressive, edgy theme.
  20
  21         You should assess the following factors in deciding if the product feature
  22   is functional or non-functional:
  23
  24         (1)    The Trade Dress’ Utilitarian Advantage. In considering this factor,
  25                you may examine whether the particular trade dress yields a
  26                utilitarian advantage over how the product might be without that
  27                trade dress. If there is a utilitarian advantage from having the
  28                particular trade dress, this would weigh in favor of finding the trade
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 37 of 54 Page ID
                                #:16519



   1              dress is functional; if it seems merely ornamental, incidental, or
   2              arbitrary, it is more likely to be nonfunctional.
   3
   4        (2)   Availability of Alternate Trade Dress. In considering this factor, you
   5              may examine whether an alternate trade dress could have been used,
   6              so that competition in the market for that type of product would not
   7              be hindered by allowing only one person to exclusively use the
   8              particular trade dress. For this to be answered in the affirmative, the
   9              alternatives must be more than merely theoretical or speculative.
  10              They must be commercially feasible. The unavailability of a
  11              sufficient number of alternate trade dresses weighs in favor of
  12              finding the trade dress is functional.
  13
  14        (3)   Advertising Utilitarian Advantage in the Trade Dress. In considering
  15              this factor, you may examine whether the particular trade dress has
  16              been touted in any advertising as a utilitarian advantage, explicitly
  17              or implicitly. If a seller advertises the utilitarian advantages of a
  18              particular trade dress, this weighs in favor of finding that trade dress
  19              is functional.
  20
  21        (4)   The Method of Manufacture. In considering this factor, you may
  22              examine whether the particular trade dress results from a relatively
  23              simple or inexpensive method of manufacture. If the trade dress is a
  24              result of a particularly economical production method, this weighs
  25              in favor of finding the trade dress is functional; if the feature is
  26              essential to the use or purpose of the device or affects its cost or
  27              quality, it is more likely functional.
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 38 of 54 Page ID
                                #:16520



   1              Monster Energy has the burden of proving non-functionality of its
   2              trade dress by a preponderance of the evidence in order to show that
   3              the trade dress is valid and protected from infringement.
   4
   5   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   6   15.12.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 39 of 54 Page ID
                                #:16521



   1                           JURY INSTRUCTION NO. 14
   2     (INFRINGEMENT—LIKELIHOOD OF CONFUSION—FACTORS—
   3                                SLEEKCRAFT TEST)
   4
   5         You must consider whether the defendant’s use of a trademark or trade
   6   dress is likely to cause confusion about the source or affiliation of Monster
   7   Energy’s or ISN’s goods or services. The likelihood of confusion factors are the
   8   same for determining both trademark and trade dress infringement.
   9
  10         I will suggest some factors you should consider in deciding this. The
  11   presence or absence of any particular factor that I suggest should not necessarily
  12   resolve whether there was a likelihood of confusion, because you must consider
  13   all relevant evidence in determining this. As you consider the likelihood of
  14   confusion you should examine the following:
  15
  16         (1)    Strength or Weakness of Monster Energy’s Claimed Marks or Trade
  17                Dress. The more the consuming public recognizes Monster Energy’s
  18                claimed trademarks or trade dress as an indication of origin of
  19                Monster Energy’s goods, the more likely it is that consumers would
  20                be confused about the source or affiliation of ISN’s goods if ISN
  21                uses a similar trademark or similar trade dress.
  22
  23         (2)    ISN’s Use of the Mark or Trade Dress. If ISN and Monster Energy
  24                use their claimed trademarks and trade dress on the same, related, or
  25                complementary kinds of goods there may be a greater likelihood of
  26                confusion about the source or affiliation of the goods than otherwise.
  27
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 40 of 54 Page ID
                                #:16522



   1        (3)   Similarity of Monster Energy’s and ISN’s Marks and Trade Dress.
   2              If the overall impression created by Monster Energy’s claimed
   3              trademarks and trade dress in the marketplace is similar to that
   4              created by ISN’s trademarks and trade dress in appearance, sound,
   5              or meaning, there is a greater chance that consumers are likely to be
   6              confused by ISN’s use of its trademarks and trade dress. Similarities
   7              in appearance, sound or meaning weigh more heavily than
   8              differences in finding the marks are similar.
   9
  10        (4)   Actual Confusion. If use by ISN of Monster Energy’s claimed
  11              trademarks or claimed trade dress has led to instances of actual
  12              confusion, this strongly suggests a likelihood of confusion. However
  13              actual confusion is not required for a finding of likelihood of
  14              confusion. Even if actual confusion did not occur, ISN’s use of its
  15              trademarks or trade dress may still be likely to cause confusion. As
  16              you consider whether the trademarks or trade dress used by ISN
  17              creates for consumers a likelihood of confusion with Monster
  18              Energy’s claimed trademarks or claimed trade dress, you should
  19              weigh any instances of actual confusion against the opportunities for
  20              such confusion. If the instances of actual confusion have been
  21              relatively frequent, you may find that there has been substantial
  22              actual confusion. If, by contrast, there is a very large volume of sales,
  23              but only a few isolated instances of actual confusion you may find
  24              that there has not been substantial actual confusion.
  25
  26        (5)   ISN’s Intent. Knowing use by ISN of Monster Energy’s trademarks
  27              or trade dress to identify similar or related goods may strongly show
  28              an intent to derive benefit from the reputation of Monster Energy’s
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 41 of 54 Page ID
                                #:16523



   1                  claimed trademarks or claimed trade dress, suggesting an intent to
   2                  cause a likelihood of confusion. On the other hand, even in the
   3                  absence of proof that ISN acted knowingly, the use of Monster
   4                  Energy’s trademarks or trade dress to identify similar or related
   5                  goods may indicate a likelihood of confusion.
   6
   7            (6)   Marketing/Advertising Channels. If Monster Energy’s and ISN’s
   8                  goods and services are likely to be sold in the same or similar stores
   9                  or outlets, or advertised in similar media, this may increase the
  10                  likelihood of confusion.
  11
  12            (7)   Consumer’s Degree of Care. The more sophisticated the potential
  13                  buyers of the goods or the more costly the goods, the more careful
  14                  and discriminating the reasonably prudent purchaser exercising
  15                  ordinary caution may be. They may be less likely to be confused by
  16                  similarities in Monster Energy’s and ISN’s trademarks and trade
  17                  dress.
  18
  19            (8)   Product Line Expansion. When the parties’ products differ, you may
  20                  consider how likely Monster Energy is to begin selling the products
  21                  for which ISN is using Monster Energy’s claimed trademarks or
  22                  claimed trade dress. If there is a strong possibility of expanding into
  23                  the other party’s market, there is a greater likelihood of confusion.
  24
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  26   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  27   15.18.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 42 of 54 Page ID
                                #:16524



   1                              JURY INSTRUCTION NO. 15
   2                 (INFRINGEMENT—LIKELIHOOD OF CONFUSION—
   3       FACTOR—STRENGTH OF TRADEMARK OR TRADE DRESS)
   4
   5             Strength as a Factor for Evaluating Likelihood of Confusion
   6
   7            How strongly Monster Energy’s claimed trademarks or claimed trade dress
   8   indicate that the goods or services come from a particular source is an important
   9   factor to consider in determining whether the trademarks or trade dress used by
  10   ISN are likely to create confusion with Monster Energy’s trademarks and trade
  11   dress.
  12
  13            Monster Energy asserts that its registered trademarks, unregistered
  14   trademark in the word “Monster,” and asserted Trade Dress are trademarks and
  15   trade dress for its beverages. Monster Energy contends that ISN’s use of its
  16   “Monster Mobile” mark in connection with its tools infringes Monster Energy’s
  17   trademarks and trade dress because it is likely to cause confusion.
  18
  19                         The Strength of Marks or Trade Dress
  20
  21            The more distinctive and strong a trademark or trade dress is, the greater
  22   the scope of protection the law provides. The law measures trademark and trade
  23   dress strength by considering two prongs:
  24
  25            1.     Commercial Strength: This is the amount of marketplace recognition
  26                   of the trademark or trade dress; and
  27
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 43 of 54 Page ID
                                #:16525



   1         2.     Conceptual Strength: This is the placement of the trademark or trade
   2                dress on the spectrum of marks.
   3
   4          Commercial Strength: What is “commercial strength?” Not all
   5   trademarks and trade dress are equally well known. Trademark and trade dress
   6   strength is somewhat like the renown of people. Only a few very famous people
   7   are widely known and recognized around the world. Most people are known and
   8   recognized only by a small circle of family and friends.
   9
  10         Some trademarks and trade dress are relatively “strong,” in the sense they
  11   are widely known and recognized. A few trademarks are in the clearly “famous”
  12   category. These “famous” marks are those like “Apple” for computers and mobile
  13   phones, “Google” for a search engine, “Coca-Cola” for beverages and “Toyota”
  14   for vehicles. Some trademarks and trade dress may be strong and well known only
  15   in a certain market niche such as mountain climbing gear, plumbing supplies, or
  16   commercial airplane electronics equipment, but relatively weak outside that field.
  17
  18         Conceptual Strength: What is “conceptual strength?” All trademarks and
  19   trade dress are grouped into two categories: either inherently distinctive or not
  20   inherently distinctive. If a trademark or trade dress is inherently distinctive it is
  21   immediately protected when first used. If it is not inherently distinctive, to
  22   become a legally protected mark, a designation must acquire distinctiveness in
  23   people’s minds by becoming known as an indication of source of goods or
  24   services. The law calls this “secondary meaning,” as I explained in Instruction 12.
  25
  26         For determining the conceptual strength of a trademark or trade dress,
  27   trademarks and trade dress are grouped on a spectrum according to the nature of
  28   the mark. In the spectrum, there are three categories of trademarks and trade dress
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 44 of 54 Page ID
                                #:16526



   1   that the law regards as being inherently distinctive: coined, arbitrary and
   2   suggestive. Descriptive trademarks and trade dress are regarded as not being
   3   inherently distinctive and require a secondary meaning to become a valid
   4   trademark or trade dress.
   5
   6         Coined and arbitrary trademarks and trade dress are regarded as being
   7   relatively strong. A coined word mark is a word created solely to serve as a
   8   trademark. For example, “Clorox” for cleaning products and “Exxon” for
   9   gasoline are coined marks.
  10
  11         Arbitrary trademarks and trade dress in no way describe or suggest the
  12   nature of the goods or services they are used with. For example, “apple” is a
  13   common word, but it does not describe or suggest anything about the nature of
  14   “Apple” brand computers or smart phones. It is an arbitrary word when used as a
  15   mark on those products and is said to be conceptually strong as a mark.
  16
  17         Suggestive trademarks and trade dress are regarded as not being as
  18   conceptually strong as coined or arbitrary trademarks and trade dress. Suggestive
  19   trademarks and trade dress suggest some characteristic or quality of the goods or
  20   services with which they are used. If the consumer must use her imagination or
  21   think through a series of steps to understand what the trademark or trade dress is
  22   telling about the product, then the trademark or trade dress does not directly
  23   describe the product’s features, but merely suggests them. For example, the
  24   trademark “Tail Wagger” for dog food merely suggests that your dog will like the
  25   food. As another example, when “apple” is used in the mark “Apple-A-Day” for
  26   vitamins, it is being used as a suggestive trademark. “Apple” does not describe
  27   what the vitamins are. However, it suggests the healthfulness of “an apple a day
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 45 of 54 Page ID
                                #:16527



   1   keeping the doctor away” with the supposed benefits of taking “Apple-A-Day”
   2   vitamins.
   3
   4            Descriptive trademarks and trade dress are not inherently distinctive.
   5   These trademarks and trade dress directly describe some characteristic, or quality
   6   of the goods or services with which they are used in a straightforward way that
   7   requires no exercise of imagination. For instance, the word “apple” is descriptive
   8   when used in the trademark “CranApple” to designate a cranberry-apple juice. It
   9   directly describes one of ingredients of the juice.
  10
  11   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  12   15.19.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 46 of 54 Page ID
                                #:16528



   1                              JURY INSTRUCTION NO. 16
           (DEFENSES—ABANDONMENT—AFFIRMATIVE DEFENSE—
   2
                            DEFENDANT’S BURDEN OF PROOF)
   3
                The owner of a trademark or trade dress cannot exclude others from using
   4
       the trademark or trade dress if that trademark or trade dress has been abandoned.
   5
   6
                ISN contends that the word “MONSTER” when used alone and the Trade
   7
       Dress asserted by Monster Energy have become unenforceable because Monster
   8
       Energy abandoned them. ISN has the burden of proving abandonment by a
   9
       preponderance of the evidence.
  10
  11
                The owner of a trademark or trade dress abandons the right to exclusive
  12
       use of the trademark or trade dress when the owner:
  13
                1. discontinues its use in the ordinary course of trade, intending not to
  14
                   resume using it;
  15
                2. acts or fails to at so that the trademark or trade dress’s primary meaning
  16
                   to prospective consumers has become the product itself and not the
  17
                   producer of the product; or
  18
                3. fails to exercise adequate control over the goods sold under the
  19
                   trademark by a licensee.
  20
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       AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
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       15.22.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 47 of 54 Page ID
                                #:16529



   1                           JURY INSTRUCTION NO. 17
   2                             (DEFENSE OF LACHES)
   3
   4         The defense of laches embodies the principle that a plaintiff cannot sit on
   5   its rights for an unreasonable period of time to the detriment or prejudice of the
   6   defendant. ISN must prove this defense by a preponderance of the evidence. The
   7   laches period starts when Monster Energy knew or should have known about each
   8   of its infringement claims. To establish laches, ISN must prove the following:
   9
  10         (1) That Monster Energy unreasonably delayed in bringing suit against ISN
  11   for committing the acts that form the basis of Monster Energy’s infringement
  12   claims; and
  13         (2) That ISN was prejudiced by such delay.
  14
  15   Authority: Grupo Gigante S.A. De C.V. v. Dallo & Co., 391 F.3d 1088, 1102–
  16   03 (9th Cir. 2004); Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829,
  17   838 (9th Cir. 2002); Tillamook Country Smoker, Inc. v. Tillamook County
  18   Creamery Association, 465 F.3d 1102, 1108 (9th Cir. 2006); San Miguel Pure
  19   Foods Co. v. Ramar Int’l Corp., 625 F. App’x 322, 326 (9th Cir. 2015).
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 48 of 54 Page ID
                                #:16530



   1                            JURY INSTRUCTION NO. 18
   2          (TRADEMARK DAMAGES – WILLFUL INFRINGEMENT)
   3         If you find that ISN infringed any of the Monster Energy’s trademarks or
   4   claimed trade dress, you must also determine whether ISN acted willfully.
   5   Trademark infringement and trade dress infringement are considered willful if
   6   Monster Energy shows that ISN’s actions were willfully calculated to exploit the
   7   advantage of an established trademark or trade dress or if Monster Energy proves
   8   ISN had an intent to deceive or confused customers. For infringement to be
   9   willful, you must find that ISN had knowledge that its actions have constituted
  10   trademark infringement. Infringement is not willful if ISN had a reasonable and
  11   good faith belief its actions were not infringing. Monster Energy has the burden
  12   of proving willfulness by a preponderance of the evidence.
  13
  14
  15   AUTHORITY: San Miguel Pure Foods Co. v. Ramar Int'l Corp., 625 F. App'x
  16   322, 325 (9th Cir. 2015); Int'l Olympic Comm. v. San Francisco Arts &
  17   Athletics, 781 F.2d 733, 739 (9th Cir.), amended by 789 F.2d 1319 (9th Cir.1986)
  18   (holding that conduct is not willful if a party “reasonably thought that its proposed
  19   usage was not barred by the statute”), aff'd sub nom. San Francisco Arts &
  20   Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 107 S.Ct. 2971, 97 L.Ed.2d
  21   427 (1987); Evergreen Safety Council v. RSA Network Inc., 697 F.3d 1221, 1228
  22   (9th Cir. 2012) (“Continued use of a work even after one has been notified of his
  23   or her alleged infringement does not constitute willfulness so long as one believes
  24   reasonably, and in good faith, that he or she is not infringing.”)
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 49 of 54 Page ID
                                #:16531



   1                          JURY INSTRUCTION NO. 19
   2      (TRADEMARK DAMAGES—PLAINTIFF’S ACTUAL DAMAGES)
   3
   4         If you find for Monster Energy on its claim for infringement of registered
   5   or unregistered trademarks, or its claim for infringement of the Trade Dress
   6   asserted by Monster Energy, you must determine Monster Energy’s actual
   7   damages.
   8
   9         Monster Energy has the burden of proving actual damages by a
  10   preponderance of the evidence. Damages means the amount of money which will
  11   reasonably and fairly compensate Monster Energy for any injury you find was
  12   caused by ISN’s infringement of Monster Energy’s trademarks or trade dress.
  13   Monster Energy seeks actual damages in the form of a reasonable royalty award.
  14
  15         You should consider the following:
  16
  17         (1)   The injury to Monster Energy’s reputation;
  18
  19         (2)   The injury to Monster Energy’s goodwill, including injury to
  20               Monster Energy’s general business reputation;
  21
  22         (3)   Whether Monster Energy has proven that Monster Mobile would
  23               have taken a license to any of the asserted trademarks and if so, the
  24               royalties that Monster Energy would have earned but for Monster
  25               Mobile’s infringement.
  26   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  27   15.27; Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993)
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 50 of 54 Page ID
                                #:16532



   1   (damages suffered by the plaintiff are typically measured by any direct injury
   2   which a plaintiff can prove).
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 51 of 54 Page ID
                                #:16533



   1                            JURY INSTRUCTION NO. 22

   2             (REASONABLE ROYALTY –POSSIBLE FACTORS)

   3         If you determine that Monster Energy is entitled to a reasonable royalty, in

   4   determining the amount of a reasonable royalty, you may consider evidence on

   5   any of the following factors, in addition to any other evidence presented by the

   6   parties on the economic value of the trademark:

   7            1. Any royalties received by the licensor for the licensing of the
   8               trademark, proving or tending to prove an established royalty.
   9
  10            2. The rates paid by ISN to license other trademarks comparable to the

  11               trademark.

  12
                3. The nature and scope of the license, as exclusive or non-exclusive,
  13
                   or as restricted or non-restricted in terms of its territory or with
  14
                   respect to whom the manufactured product may be sold.
  15
  16            4. The licensor’s established policy and marketing program to maintain

  17               its right to exclude others from using the trademark by not licensing

  18               others to use the trademark, or by granting licenses under special

  19               conditions designed to preserve that exclusivity.
  20
                5. The commercial relationship between the licensor and the licensee,
  21
                   such as whether or not they are competitors in the same territory in
  22
                   the same line of business.
  23
  24            6. The effect of selling products bearing the trademark in promoting
  25               sales of other products of the licensee; the existing value of the
  26               trademark to the licensor as a generator of sales of its non-
  27               trademarked items; and the extent of such collateral sales.
  28
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 52 of 54 Page ID
                                #:16534



   1           7. The term of the license.

   2           8. The established profitability of the product bearing the trademark;
   3              its commercial success; and its current popularity.
   4
   5           9. The nature of the trademark; and the benefits to those who have used

   6              the trademark.

   7           10. The extent to which ISN has made use of the trademark; and any
   8              evidence that shows the value of that use.
   9
  10           11. The portion of the profit or of the selling price that may be customary

  11              in the particular business or in comparable businesses to allow for

  12              the use of the trademark or analogous trademarks.

  13
               12. The portion of the profit that arises from the trademark itself as
  14
                  opposed to profit arising from non-trademarked features, such as the
  15
                  manufacturing process, business risks, or significant features or
  16
                  improvements added by the accused infringer.
  17
  18           13. The opinion testimony of qualified experts.

  19
               14. The amount that a licensor and a licensee (such as ISN) would have
  20
                  agreed upon (at the time the infringement began) if both sides had
  21
                  been reasonably and voluntarily trying to reach an agreement; that
  22
                  is, the amount which a prudent licensee—who desired, as a business
  23
                  proposition, to obtain a license to use the trademark—would have
  24
                  been willing to pay as a royalty and yet be able to make a reasonable
  25
                  profit and which amount would have been acceptable by a trademark
  26
                  owner who was willing to grant a license.
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 53 of 54 Page ID
                                #:16535



   1            15. Any other economic factor that a normally prudent business person

   2                would, under similar circumstances, take into consideration in

   3                negotiating the hypothetical license.

   4
       AUTHORITY: AIPLA Model Patent Jury Instructions, 11.14 (revised to apply
   5
       to trademark context); Ericsson, Inc. v. D-Link Sys., Inc., No. 10-CV-0473,
   6
       2014 U.S. App. LEXIS 22778 at *65-69 (Fed. Cir. 2014); Apple Inc. et al v.
   7
       Motorola Inc., et al., ___ F.3d ____ (Fed. Cir. Apr. 25, 2014); LaserDynamics,
   8
       Inc. v. Quanta Computer, Inc. et al, 694 F.3d 51, 60 (Fed. Cir. 2012); Wordtech
   9
       Sys., Inc. v. Integrated Networks Solutions, Inc., 609 F.3d 1308, 1319 (Fed. Cir.
  10
       2010); ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869-73 (Fed. Cir. 2010);
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       Monsanto Co. v. McFarling, 488 F.3d 973 (Fed. Cir. 2007); Maxwell v. J.
  12
       Baker, Inc., 86 F.3d 1098, 1108-10 (Fed. Cir. 1996); TWM Mfg. Co. v. Dura
  13
       Corp., 789 F.2d 895, 898-900 (Fed. Cir. 1986); Georgia-Pacific Corp. v. United
  14
       States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970), modified and aff’d
  15
       sub nom., Georgia Pacific Corp. v. United States Plywood Champion Papers,
  16
       Inc., 446 F.2d 295 (2d Cir. 1971).
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Case 5:17-cv-00548-CBM-RAO Document 376 Filed 10/09/18 Page 54 of 54 Page ID
                                #:16536



   1                            JURY INSTRUCTION NO. 23
   2                             (DEFENDANT’S PROFITS)
   3
   4         If you determine that ISN willfully infringed on Monster Energy’s
   5   trademarks or trade dress, then you are being asked to determine any profits
   6   earned by ISN that are attributable to the infringement, which Monster Energy
   7   must prove by a preponderance of the evidence. You may not, however, include
   8   in any award of profits any amount that you took into account in determining a
   9   reasonable royalty.
  10
  11         Profit is determined by deducting all expenses from gross revenue.
  12
  13         Gross revenue is all of ISN’s receipts from using the trademark or trade
  14   dress in the sale of an infringing product. Monster Energy has the burden of
  15   proving ISN’s gross revenue by a preponderance of the evidence.
  16
  17         Expenses are all operating, overhead, and production costs incurred in
  18   producing the gross revenue. ISN has the burden of proving the expenses and the
  19   portion of the profit attributable to factors other than use of the infringed
  20   trademark by a preponderance of the evidence.
  21
  22         Unless you find that a portion of the profit from the sale of ISN’s products
  23   using the trademark or trade dress is attributable to factors other than use of the
  24   trademark, you should find that the total profit is attributable to the infringement.
  25
  26   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.

  27   15.29; Stone Creek, Inc. v. Omnia Italian Design, Inc., No. 15- 17418, 2017 WL

  28   3724419, at *10 (9th Cir. Aug. 30, 2017).

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